Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 1 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 2 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 3 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 4 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 5 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 6 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 7 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 8 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 9 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 10 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 11 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 12 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 13 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 14 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 15 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 16 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 17 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 18 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 19 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 20 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 21 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 22 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 23 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 24 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 25 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 26 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 27 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 28 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 29 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 30 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 31 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 32 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 33 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 34 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 35 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 36 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 37 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 38 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 39 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 40 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 41 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 42 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 43 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 44 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 45 of 46
Case 22-14766-SMG   Doc 1   Filed 06/20/22   Page 46 of 46
